Case 1-18-47256-cec

B1040 (FORM 1040) (12/15)

Doc 100 Filed 09/12/19 Entered 09/12/19 14:46:01

 

 

 

ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only)
FPLAINTIFES Yehuda Salamon, Se EN NES opping Cart, Inc., E-Commerce Expand, LLC, Yidel's O

Mark Frankel as Plan Administrator for
4921 12th Avenue LLC

Food Station, LLG
Doe No. | through
parties intended be

 

ATTORNEYS (Firm Name, Address, and Telept one No.
Butler, Fitzgerald, Fiveson & McCarthy, P.C.

9 East 45th Street, Ninth Floor
New York, New York 10017 (212) 615-2200

Yidel's Shopping Cart, Inc. d/b/a Rivrestone Group, Rivrstone, USA, LLC, and "|
John Doe No. 10, the last ten names being fictitious and unknown to Plaintiff, pers

 
  
  

Unknown

Inline
ohn
ions or

 

PARTY (Check One Box Only)

PARTY (Check One Box Only)

 

G Debtor & U.S. Trustee/Bankruptcy Admin
o Creditor o Other
0 Trustee

o Debtor O U.S. Trustee/Bankruptcy Admin
O Creditor x Other
O Trustee

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Fraudulent conveyance claims against defendants pursuant to NY Debtor and Creditor Law Sections 273, 274, 275 and 276 and Bankruptcy Code

: Sections 544(bX1), 545, 546, 547, 549 and 550

 

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

 

 

FRBP 7001(1) — Recovery of Money/Property
Oh |-Recovery of money/property - §542 tumover of property
| 12-Recovery of money/property - §547 preference
x] 13-Recovery of money/property - §548 fraudulent transfer
CO 14-Recovery of money/property - other

FRBP 7001(2) — Validity, Priority or Extent of Lien
21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3)— Approval of Sale of Property
Cj 31-Approval of sale of property of estate and of a co-owner - §363{h)

FRBP 7001(4) — Objection/Revocation of Discharge
OC 41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) - Dischargeability
66-Dischargeability - §523(a)(t),(14),([4A) priority tax claims
oO 62-Dischargeability - §523(a}(2), false pretenses, false representation,
actual fraud
O 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) - Dischargeability (continued)

O 61-Dischargeability - §523(a)(5), domestic support

O 68-Dischargeability - §523(a)(6), willful and malicious injury

oO 63-Dischargeability - §523(a}(8), student loan

O 64-Dischargeability - §523(a){15), divorce or separation obligation
(other than domestic support)

C1 65-Dischargeability - other

FRBP 7001(7) - Injunctive Relief
71-Injunctive relief - imposition of stay
O 72-Injunctive relief - other

FRBP 7001(8) Subordination of Claim or Interest
0 81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other

DO SS-SIPA Case — 15 U.S.C. §§78aaa es. seq.

[1 02-0ther (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

 

w® Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

 

a Check if a jury trial is demanded in complaint

 

Demand $ 6,095,068.80 with interest

 

Other Relief Sought

 

 
Case 1-18-47256-cec Doc100 Filed 09/12/19 Entered 09/12/19 14:46:01

B1040 (FORM 1040) (12/15)

 

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 

 

 

 

 

 

 

NAME OF DEBTOR BANKRUPTCY CASE NO.

4921 12th Avenue LLC 1-18-47256-cec

DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE

Eastern District, New York Brooklyn Carla E. Craig
RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE

 

 

 

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

 

 

DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)

“ | lt [ 3014 David K. Fiveson

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand, Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. Ifthe

plaintiff is represented by a law firm, a member of the firm must sign. Ifthe plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

 
